         Case 1:19-cr-00108-MKB Document 5 Filed 02/19/19 Page 1 of 1 PageID #: 27
                                     INITIAL APPEARANCE CALENDAR


Magistrate Judge :       Peggy Kuo                                              Date:          2/19/19
Magistrate Case Number:       19-147M / 18-837M                                      LOG #: 3:63"
Defendant's Name:           Andre Wilburn

         Court appointed counsel.                     Defendant retained counsel.
Defense Counsel:        James Darrow                            FDNY :                   CJA             RET:.
A.U.S.A.        Virginia Nguyen                                         Clerk          E. Williams
Interpreter :                                                      Language:

        ARRAIGNMENT on Complaint held.                          Government Agent Sworn

        DETENTION HEARING Held:                        Government opposed bail for reasons stated on the record.
      Bond set at                                         .                  Bond set on consent of both parties.
           Defendant:             released              held pending satisfaction of bond conditions.
     _Defendant advised of bond conditions set by the Court and signed the bond.
            Surety(ies) sworn, advised of bond obligations by the Court and signed the bond.
     (Additional) surety/ies to co-sign bond by
      After detention hearing, Court orders detention in custody.                Leave to reopen granted
      Temporary Order of Detention Issued. Bail Hearing set for
      At this time, defense counsel states on the record that the defendant does not have a bail
       application / package. Order of detention entered with leave to reapply to a Magistrate
       or to the District Court Judge to whom the case will be assigned.
      Preliminary Hearing set for:_                    & lUPOftrw               or              waived by defendant
      Status Conference set for:                                                         before Judge
      Medical memo issued.

    __REMOVAL(Rule 5)PROCEEDING held.                    To the district of:
    _ Identity hearing held. Court               orders removal                      denies removal
    _ Defendant waives:            identity hearing       preliminary hearing
      Identity/ Removal Hearing set for:
    _No bail application presented to the Court. Commitment to the District                                  entered.

Other Comments/Rulings:.
